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            EXHIBIT F
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF NEW JERSEY, et al.                        :

           Plaintiffs,                               :
                                                     :
     v.                                              :
                                                     :
  DONALD J. TRUMP, et al.                                Civil Action No.: ___________
                                                                           25-cv-10139
                                                     :
           Defendants.                               :
                                                     :
                                                     :
                                                     :
                                                     :
                                                     :


                         DECLARATION OF SHELLEY LAPKOFF

       I, Shelley Lapkoff, hereby declare:
1. I am a Senior Demographer at National Demographics Corporation (NDC), which I joined in

   2023. Founded in 1979, NDC is a firm dedicated to providing research and analysis services

   on demographic, districting, and redistricting issues to a variety of governmental and non-

   governmental clients. At NDC, as I have for more than 30 years, I specialize in conducting

   demographic and political redistricting analyses. Within the field of demography, my area of

   expertise is applied demography, which includes the analysis of client and third-party data,

   such as Census Bureau counts and estimates, data from state, federal and local governments,
   and data from other research organizations.

2. Prior to joining NDC, I earned a Ph.D. in Demography in 1988 and an M.A. in Economics

   from the University of California, Berkeley in 1984. I received a B.A. with Honors in

   Economics from the University of Maryland, College Park, in 1976. While in graduate school,

   I founded my own demographic consulting firm, Lapkoff Demographic Research (LDR), in

   1985, which provided consulting services and demographic analyses to government and non-

   governmental clients. In 1992, LDR subsequently became Lapkoff & Gobalet Demographic

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   Research, Inc. (LDGR). And just recently, in 2023, LDGR merged with NDC. Additionally, I

   have taught Applied Demography and presented seminars in the U.C. Berkeley Demography

   Department. I have also been active in the Population Association of America (PAA) and have

   been Chair of the PAA Committee on Applied Demography.

3. I served as one of the principals of LDGR from its inception until joining NDC. As President

   of LGDR and as a Senior Demographer with NDC, I have conducted and overseen many

   demographic research projects. As a consultant and practitioner of applied demographics, I

   help diverse types of clients. The work includes developing new methods (including
   mathematical models) to forecast population and housing occupancy; assembling and

   analyzing demographic data; evaluating demographic trends; preparing written reports on the

   findings; and making presentations on a variety of matters.

4. At LGDR and now NDC, I have worked with more than 20 school districts, including the large

   San Francisco and Oakland Unified School Districts, many cities, special districts, and county

   boards of supervisors. National-level clients have included non-profits (Girl Scouts of the

   United States, United Way Worldwide) and the U.S. Department of Justice. These projects

   have often used client and third-party data, such as Census Bureau American Community

   Survey data, data from state and federal government (especially birth data from the National

   Center for Health Statistics), and from research organizations like Pew Research Center.

5. I have worked with dozens of clients providing political redistricting services after the 1990,

   2000, 2010, and 2020 decennial Censuses. These types of demographic and redistricting

   analyses have required expert use of Census data, including the American Community Survey,

   and Geographic Information Systems (GIS) software.

6. Over the years, I have served as an expert witness in several cases that involved demographic

   analyses, including cases regarding racial and disability discrimination, housing discrimination

   against households with children, evaluations of school desegregation plans, political

   redistricting that conforms to civil rights legislation and court decisions, and developer fee

   justifications for school districts, among others.

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7. Attached as Exhibit 1 is a copy of my curriculum vitae listing my full experience, prior

   publications, and cases where I have submitted a declaration or participated as a consultant.

                                      Scope of Work and Findings

8. For purposes of determining the possible impact of a revocation of birthright citizenship, NDC

   was retained by the States of New Jersey and California to estimate the annual number of births

   to women who are unauthorized immigrants in New Jersey, California, and Massachusetts, as

   well as the entire United States, and if possible, the number of births in which both the mother

   and father were unauthorized immigrants. Under my direction and supervision, NDC prepared

   the analysis and report attached as Exhibit 2, which reflects NDC’s estimate of the number of

   such births. The report details NDC’s estimate, the methodology used, and the data sources

   and additional materials consulted and relied upon.

9. As explained in our report, we estimate that in 2022, the last year for which complete data are

   available:

           a. There were approximately 255,000 births to unauthorized mothers in the United

                States. That represents 31 percent of births to all foreign-born mothers and 7 percent

                of all births to United States residents. We further estimate that there were

                approximately 153,000 births in which both parents were unauthorized,

                representing 18 percent of births to all foreign-born mothers, and 4 percent of all

                births to United States residents.

           b. There were approximately 7,800 births to unauthorized mothers in Massachusetts.

                That represents 33 percent of births to all foreign-born mothers and 11 percent of

                all births to Massachusetts residents. We further estimate that there were

                approximately 4,200 births in which both parents were unauthorized, representing

                18 percent of births to all foreign-born mothers, and 6 percent of all births to

                Massachusetts residents.

           c. There were approximately 10,700 births to unauthorized mothers in New Jersey.

                That represents 28 percent of births to all foreign-born mothers and 10 percent of

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              all births to New Jersey residents. We further estimate that there were

              approximately 6,200 births in which both parents were unauthorized, representing

              16 percent of births to all foreign-born mothers, and 6 percent of all births to New

              Jersey residents.

           d. There were approximately 40,200 births to unauthorized mothers in California.

              That represents 29 percent of births to all foreign-born mothers and 10 percent of

              all births to California residents. We further estimate that there were approximately

              24,500 births in which both parents were unauthorized, representing 18 percent of
              births to all foreign-born mothers, and 6 percent of all births to California residents.



10. In conducting our analysis, we reviewed data from a variety of independent sources as well as

   official federal and state government databases in an effort to best estimate using reliable

   sources the number of births to unauthorized mothers and parents in New Jersey,

   Massachusetts, California, and the United States. Our methodology, data sources, and full

   analysis are explained further in our attached report.


   I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



   Executed this 21st day of January, 2025, in Glendale, California.



                                                     _______________________________

                                                     Shelley Lapkoff, Senior Demographer
                                                     National Demographics Corporation




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             EXHIBIT 1
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                                   Curriculum Vitae for Shelley Lapkoff

                                       Shelley Lapkoﬀ, Ph.D.
                                           Demographer
           National Demographics Corporation/Lapkoﬀ & Gobalet Demographic Research, Inc.
                                    SLapkoﬀ@NDCResearch.com


Senior Demographer at National Demographics Corporation since 2023. President and Principal, Lapkoﬀ
& Gobalet Demographic Research, Inc., since 1992, and founder and owner of Lapkoﬀ Demographic
Research before that. In 2023, National Demographics Corporation and Lapkoﬀ & Gobalet Demographic
Research, Inc. merged.

Lecturer, University of California, Berkeley, Demography Department, 1995 and 2001.

Education and Honors

Ph.D.   Demography, University of California, Berkeley, 1988

M.A.    Economics, University of California, Berkeley

A.B.    Economics, With Honors, University of Maryland

Guest Lecturer, Business School, University of California, Berkeley

NICHHD Training Grant, University of California, Berkeley, 1984-86

University of California Graduate Fellowship, 1982-84



Professional Experience

Dr. Lapkoﬀ has provided demographic services to school districts since 1985. In 1989 she founded
Lapkoﬀ Demographic Research, and since 1992 she has been the President and a Principal of Lapkoﬀ &
Gobalet Demographic Research, Inc. In 2023, she became Senior Demographer at National
Demographics Corporation.

She has provided consulting and research services to public K-12 school districts throughout the San
Francisco Bay Area and California, as well as to community colleges, cities, voting jurisdictions, the
Department of Housing and Urban Development, and the Department of Justice. She has provided
expert testimony in several court cases involving political redistricting, school desegregation, developer
fee challenges, and housing discrimination. Dr. Lapkoﬀ is recognized as a national leader in the ﬁeld of
school district demography, and she is a past Chair of the Applied Demography Committee of the
Population Association of America.




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Papers and Professional Presentations

Political Districting
“Who Must Elect by District in California? A Demographer’s Perspective on Methods for Assessing
Racially Polarized Voting,” with Shelley Lapkoﬀ. Chapter 18 in Emerging Techniques in Applied
Demography, Hoque, M. Nazrul, Potter, Lloyd B. (Eds.), 2015.
“How much is enough and how much is too much? Measuring Hispanic political strength for redistricting
purposes," with Jeanne Gobalet, 2012 Population Association of America Annual Meeting.
"Voting Rights Act Issues in Political Redistricting," with Jeanne Gobalet, 1993 Population Association
of America Annual Meeting.
Invited Speaker, "Demographers and the Legal System," International Conference on Applied
Demography, Bowling Green University, 1992.
"Changing from At-large to District Election of Trustees in Two California Community College Districts: A
Study of Contrasts," with Jeanne G. Gobalet, Applied Demography, August 1991.


School and Child Demography
“Who Attends Private Schools?” with Magali Barbieri and Jeanne Gobalet, 2014 Applied Demography
Conference, San Antonio, TX.
“Measuring Variations in Private School Enrollment Rates Using ACS Estimates,” with Magali Barbieri and
Jeanne Gobalet, 2014 American Community Survey Users Conference, Washington, DC.
"Five Trends for Schools," Educational Leadership, March 2007, Volume 64, No. 6, Association for
Supervision and Curriculum Development (with Rose Maria Li).
“Studies in Applied Demography,” Session Organizer at the 2006 Population Association of America
Annual Meeting.
“California’s Changing Demographics: How New Population Trends Can Aﬀect Your District,” 2004
California School Boards Association Annual Meeting.
Panelist, “School Demography” session, 2004 Southern Demographic Association Annual Meeting.
“Where Have All the Children Gone?” Poster, 2004 Population Association of America Annual Meeting.
“Using Child-Adult Ratios for Estimating Census Tract Populations,” 1996 Population Association of
America Annual Meeting.
“How to Figure Kids,” American Demographics, January 1994.
“Neighborhood Life Cycles,” 1994 Population Association of America Annual Meeting.
"Enrollment Projections for School Districts," Applied Demography, Spring 1993.
"Projecting Births in a California School District," 1993 Population Association of America Annual
Meeting.
"School District Demography," Session Organizer and Chair, 1994 Population Association of America
Annual Meeting.
"School District Demography," Roundtable Luncheon Organizer, 1992 Population Association of America
Annual Meeting.

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"National Demographic Trends," presentation to the National Association of Business Economists, 1990.
"Demographic Trends and Long-range Enrollment Forecasting," presentation at the Redwood Leadership
Institute, Sonoma County, California, 1990.
"Projections of Student Enrollment in the Pleasanton Uniﬁed School District," 1989 Population
Association of America Annual Meeting.


General Demography
“Forecast of Emeritus Faculty/Staﬀ Households on a University Campus,” with Jeanne Gobalet, 2000
Population Association of America Annual Meeting.
“Communicating Results: Practical Approaches Suited to Decision-Oriented Audiences,” Panelist. 2000
Population Association of America Annual Meeting.
“Fiscal Impacts of Demographic Change: Focus on California,” Session Organizer and Chair. 1995
Population Association of America Annual Meeting.
Discussant for "Evaluating the Accuracy of Population Estimates and Projections," 1992 Population
Association of America Annual Meeting.
"Intergenerational Flows of Time and Goods: Consequences of Slowing Population Growth," with Ronald
Lee, Journal of Political Economy, March 1988.
"A Research Note on Keyﬁtz' 'The Demographics of Unfunded Pension'," European Journal of Population,
July 1991.
"Pay-as-you-go Retirement Systems in Nonstable Populations," Working Paper, U.C. Berkeley
Demography Group, 1985.
"Assessing Long-run Migration Policy as a Solution to the Old Age Dependency Problem," paper
presented at the 1985 Population Association of America Annual Meeting




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Estimating Births to Unauthorized Immigrants in the
United States, Massachusetts, New Jersey, and
California
Prepared by National Demographics Corporation, January 19, 2025

Executive Summary
National Demographics Corporation (NDC) was asked to estimate the annual number of births to
women who are unauthorized immigrants, and if possible, the number of births in which both the
mother and father were unauthorized immigrants. We were asked to do so for the United States,
New Jersey, Massachusetts, and California. The body of the report discusses the methodology as it
presents results for the United States. Tables in the body of the report are provided for each state in
Appendices C, D and E.

For 2022, the year for which the most recent set of data is available, we estimate that:

For the United States
    •    There were approximately 255,000 births to unauthorized mothers, representing 31 percent
         of births to all foreign-born mothers and seven percent of all births in the United States.
    •    There were approximately 153,000 births in which both parents were unauthorized,
         representing 18 percent of births to all foreign-born mothers, and four percent of all births
         in the United States.

For Massachusetts
    •    There were approximately 7,800 births to unauthorized mothers, representing 33 percent of
         births to all foreign-born mothers and 11 percent of all births in Massachusetts.
    •    There were approximately 4,200 births in which both parents were unauthorized,
         representing 18 percent of births to all foreign-born mothers, and six percent of all births in
         Massachusetts.

For New Jersey
    •    There were approximately 10,700 births to unauthorized mothers, representing 28 percent of
         births to all foreign-born mothers and 10 percent of all births in New Jersey.
    •    There were approximately 6,200 births in which both parents were unauthorized,
         representing 16 percent of births to all foreign-born mothers, and six percent of all births in
         New Jersey.


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For California
    •    There were approximately 40,200 births to unauthorized mothers, representing 29 percent of
         births to all foreign-born mothers and 10 percent of all births in California.
    •    There were approximately 24,500 births in which both parents were unauthorized,
         representing 18 percent of births to all foreign-born mothers, and six percent of all births in
         California.

While these estimates do not perfectly predict the number of unauthorized births in 2025, they
currently provide the best approximation of the likely magnitude of unauthorized births in 2025.

The starting point for these estimates is a report by the Center for Immigration Studies (CIS)
providing the number of births by state and mothers’ nativity for the year 2014. We considered two
factors to update the 2014 estimate: 1) The trend in births to all foreign-born mothers; and 2) The
trend in the unauthorized total population.

For estimating the number of births in which both parents were unauthorized immigrants, we used
survey results about married couples from the Migration Policy Institute (MPI).

Additionally, we used other sources to make alternative estimates to confirm the primary estimates
provided.


CIS-Estimated Births to Unauthorized Mothers in 2014
CIS estimated 297,073 births to unauthorized mothers in the United States in 2014, representing 7.5
percent of the nation’s total births (Table 1). 1 To our knowledge, the CIS report is the only
published estimate of the number of births to unauthorized immigrant mothers that includes birth
counts for all 50 states, in addition to the national estimate.

Pew Research Center (Pew) estimated births to unauthorized immigrants for the entire United
States, but not by state. Their analysis showed approximately 275,000 total births to unauthorized
immigrants in the U.S. in 2014, representing about 7.0 percent of all births (Passel and Cohn, 2016).



1 CIS defines “unauthorized” immigrants, based on the definition used by the Department of Homeland Security’s

Office of Immigration Statistics, as foreign-born non-citizens who are not legal residents of the United States. This
includes persons who are beneficiaries of Temporary Protected Status (TPS), Deferred Action for Childhood Arrivals
(DACA), or other forms of prosecutorial discretion, or who are residing in the United States while awaiting removal
proceedings in immigration court. See Camarota, S., Ziegler, K., and Richwine, J. (2018). Births to Legal and Illegal
Immigrants in the U.S.: A look at health insurance coverage among new mothers by legal status at the state and local
level. Center for Immigration Studies;, note 2, pages 7 and 8. This definition does not include naturalized citizens,
persons granted lawful permanent residence, persons granted asylum, persons admitted as refugees, and persons
admitted as resident nonimmigrants (i.e., students and temporary workers, as opposed to tourists) who have unexpired
authorized periods of admission. See Glossary, Office of Homeland Security Statistics, available at:
https://ohss.dhs.gov/glossary.
                                                           2
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        Table 1. Estimated U.S. Births, by Mother’s Nativity, 2014 Mother’s Nativity
                                                       Births             Percent
               Unauthorized Foreign-born               297,073             7.5%
                Authorized Foreign-born                493,509             12.4%
                     Native Born                      3,180,564            80.1%
                           Total                      3,971,146             100%

The methodology used by CIS is reasonable. Their 2014 estimates were based on data from the
Census Bureau’s 2012-2016 American Community Survey (ACS), for which 2014 is the middle year.
The authors used a variation of the residual method to estimate the size of the unauthorized
immigrant population from the ACS. This method of estimation is commonly used by researchers,
including those at the Pew Research Center and the Center for Migration Studies (CMS). To
determine which foreign-born ACS respondents may be unauthorized immigrants, CIS first
eliminated those who are least likely to be unauthorized. The resulting subset of respondents was
then weighted based on known characteristics of unauthorized immigrants (such as age, gender,
region, and country of origin) as reported by the Department of Homeland Security (DHS).

Updating the CIS Estimate for 2022
Since the publication of their 2014 estimates, CIS has not released subsequent estimates. Our
calculations update those 2014 estimates using more recent data on births to foreign-born mothers
and an analysis of the share of the foreign-born population that is unauthorized.

We considered multiple methodologies to estimate the number of births to unauthorized mothers
for more recent years. We chose the methodology detailed below because it is the most reliable
method based on the available data. Because CIS did not publish the specific fields and calculations
used in their 2014 estimates, there is no way to reliably recreate their methodology with more recent
ACS data without engaging in guesswork. We instead updated their data based on 2014 to 2022
population trends.

In this report, we build on the CIS 2014 birth count and consider two additional factors to estimate
how the number of births changed over time:

   1. Change in the number of births to foreign-born mothers. While data are not available
      on the number of births to unauthorized women, there are reliable data on the number of
      births to all foreign-born women. If the number of births to foreign-born mothers increased
      from 2014 to 2022, we would expect the number of births to unauthorized foreign-born
      mothers to also increase, all else equal.

   2. Change in the unauthorized share of the foreign-born population. To evaluate whether
      the trend in the number of births to unauthorized mothers is expected to mirror the trend in
      the number of births to foreign-born mothers, we considered whether the total foreign-born
                                                  3
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        population increased or decreased to the same extent as the total unauthorized population.
        The simplest way to do so is to calculate the share of the foreign-born population that is
        unauthorized and how that share has changed over time.

Each of these factors is discussed in detail below.

Secondarily, we use two different methods to estimate the share of unauthorized mothers with
unauthorized partners. These methods are also discussed below.

Change in the Number of Births to Foreign-Born Mothers
While official data on the number of births to unauthorized foreign-born mothers are not available,
data are readily available for all foreign-born mothers. A standard U.S. birth certificate includes the
birthplace of the mother. The most reliable data on mothers’ immigrant status is available from the
National Center for Health Statistics (NCHS), which collects data from every state. According to
the NCHS data, between 2014 and 2022, the number of births to foreign-born women in the U.S.
decreased by 4.5 percent. All else equal, we would expect births to unauthorized women to also
decrease by 4.5 percent during that period.

                      Table 2. Births to Foreign-Born Mothers in the U.S.
                                                       NCHS Births to
                                    Year
                                                        Foreign-Born
                                     2014                  872,256
                                     2022                  832,728
                                  Difference                      -39,528
                                Percent Change                     -4.5%

Change in the Unauthorized Share of the Foreign-Born Population
As shown in Table 2 above, the number of births to foreign-born mothers decreased by 4.5 percent
over the nine-year period from 2014 to 2022. Unauthorized mothers are a subset of all foreign-born
mothers. However, the unauthorized population may have a different birth trend than all foreign-
born mothers. To evaluate that possibility, we consider one additional factor.

As mentioned above, data are not available on the growth in the number of births to unauthorized
mothers. But estimates of the total population of the foreign-born and estimates of the unauthorized
total population are readily available. These data allow us to compare how similar the population
trends are between the unauthorized population and the overall foreign-born population.

Table 3 shows how the foreign-born population changed between 2014 and 2022, while Table 4
shows how the unauthorized population changed during the same period. As Table 3 shows,
between 2014 and 2022, the foreign-born population grew by nearly 10 percent.

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                     Table 3. Estimates of the U.S. Foreign-Born Population
                                                     2012-2016 ACS       2022 ACS       Change

            Foreign-Born Total Population                 42,194,354     46,182,177      9.5%
                Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset

Although the ACS does not directly estimate the unauthorized total population, three organizations
provide estimates of that count—the Pew Research Center, the U.S. Department of Homeland
Security (DHS), and the Center for Migration Studies (CMS). They estimate the unauthorized
population changed by a rate between 0.2 and -4.1 percent from 2014 to 2022, as shown in Table 4.
Averaging the three estimates yields an estimated -1.6 percent growth rate for the unauthorized
population over that period.

              Table 4. Estimates of the U.S. Unauthorized Immigrant Population
                                          2014              2022           Change
                 DHS                         11,460,000            10,990,000                -4.1%
                 Pew                         11,100,000            11,000,000                -0.9%
                 CMS                         10,912,300            10,939,004                0.2%
   Average of Change Estimates for 2014-2022                                                 -1.6%
        Sources: DHS estimates from Baker and Warren (2024), Pew estimates from Passel and Krogstad (2024), CMS
                                  estimates from CMS (2022) and Warren (2024)

Thus, the total foreign-born population grew by 9.5 percent while we estimate that the unauthorized
population decreased in size by less than two percent. Since the unauthorized population has not
grown while the overall foreign-born population increased in size, we assume that the number of
births to unauthorized mothers changed at a lower rate than for all foreign-born mothers.

Using the same data from Tables 3 and 4, we calculate the unauthorized population as a share of the
total foreign-born population. Detailed calculations are shown in Table 5. The percentage change
in the unauthorized share of the foreign-born population is -10.1 percent, from 2014 to 2022. This
percentage change, shown in column D, is used to generate a multiplier, shown in column E, to
adjust our final estimate of births to unauthorized mothers in 2022.




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    Table 5. Unauthorized Immigrant Population Compared to Foreign-Born Population
                    (A)            (B)            (C)          (D)           (E)
                Unauthorized Unauthorized Change in          Percent     Multiplier
    Source        Share of       Share of     Share, 2014   Change in     for Birth
                  Foreign-      Foreign-        to 2022       Share      Estimates
                 Born, 2014    Born, 2022        (B-A)        (C/A)         (1-D)
     DHS              27.2%             23.8%            -3.4%           -12.4%           87.6%
      Pew             26.3%             23.8%            -2.5%            -9.5%           90.5%
     CMS              25.9%             23.7%            -2.2%            -8.4%           91.6%
   Average            26.4%             23.8%            -2.7%           -10.1%           89.9%


NDC’s Estimate of Births to Unauthorized Mothers
Based on the above analysis, we make two updates to the CIS 2014 estimate of births to
unauthorized mothers:
   1. First, we adjust the number of births to reflect the change in the number of births to
      foreign-born mothers between 2014 and 2022.
   2. Next, we adjust the number of births to reflect the change in the unauthorized share of the
      total foreign-born population from 2014 to 2022.

As shown in Table 6, we estimate 255,012 U.S. births to unauthorized mothers in 2022. This takes
into account the overall change in births to foreign-born women between 2014 and 2022, as well as
the change in the unauthorized population share during that period.

               Table 6. Calculating U.S. Births to Unauthorized Mothers in 2022
                                          Change in       Adjustment for
                                         Foreign-Born        Change in
     Statistic          2014 Births                                           2022 Births
                                         Births, 2014-     Unauthorized
                                              2022       Share, 2014-2022
     Estimate             297,073            -4.5%             89.9%            255,012

Rounding 255,012 to reflect the imprecision in the data sources, we arrive at an estimate of 255,000
births to unauthorized mothers in 2022.


Estimating Births to Two Unauthorized Parents
One question we were asked to investigate is how many births to unauthorized immigrant mothers
are likely to also have unauthorized immigrant fathers. In general, there is much less information
collected about fathers. Information about fathers is optional on many states’ birth certificates. We

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found no published estimates of births to unauthorized mothers that also report the father’s legal
status.

However, we found one source of data on married couples and their unauthorized status. The
Migration Policy Institute (MPI, 2019) estimated that 60 percent of unauthorized individuals who
are married have an unauthorized spouse. 2 As that is the best available estimate, we calculate that 60
percent of children born to unauthorized mothers also have unauthorized fathers. The other 40% of
the births to unauthorized mothers occur in mixed-status relationships, with an unauthorized
mother and a legal resident or U.S. citizen father.

Available data on the marital status of women giving birth in the U.S. lend credence to this
approach. Using data from the ACS, we see that 70 percent of all women (native and foreign-born)
who reported giving birth in 2022 were married. Notably, an even higher percentage of foreign-
born mothers (75 percent) are married. This supports the use of MPI’s marriage data as a proxy for
the immigration status of fathers when estimating births to unauthorized foreign-born mothers.

Using this approach, NDC estimates about 153,000 births in 2022 in which neither parent was an
authorized immigrant or U.S. citizen, as shown in Table 7.

             Table 7. Calculating U.S. Births to Unauthorized Parents in 2022
                                                                Estimated births with
   NDC estimate of births to      Estimated share with
                                                               unauthorized mother and
    unauthorized mothers           unauthorized father
                                                                         father
           255,012                         60.0%                        153,007

Rounding 153,007 to reflect the imprecision in the data sources, we arrive at an estimate of 153,000
births with unauthorized mothers and unauthorized fathers in 2022.

Alternative Authorized-Spouse Percentage
It is possible that couples with children differ from all married couples, or that unmarried mothers
are even more likely to have an unauthorized spouse than married women. Extrapolating from a
variety of secondary sources, NDC estimates that approximately 66 percent of births to
unauthorized mothers may have an unauthorized father. See Appendix A for detailed calculations.

Using the 66 percent figure would increase the estimated number of births in which both parents
were unauthorized immigrants to about 170,000 births annually. This suggests that the 60 percent
figure from the MPI survey, and the resulting estimate of 153,000 births to two unauthorized
immigrants, is conservative.


2 MPI’s estimates are based on a methodology that imputes unauthorized status using U.S. Census Bureau 2015-19 American

Community Survey (ACS) and 2008 Survey of Income and Program Participation (SIPP) data, weighted to 2019 unauthorized
immigrant population estimates provided by Jennifer Van Hook of The Pennsylvania State University.
                                                              7
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Summary
NDC reviewed data from a variety of independent sources as well as official federal and state
government databases in a search for counts of the unauthorized population and the number of
births to unauthorized mothers each year. As described in detail above, our best estimate uses the
following data sources:
    •    National Center for Health Statistics (NCHS) counts of births per year to foreign-born
         mothers;
    •    The United States Census Bureau American Community Survey (ACS) estimates of the
         foreign-born population;
    •    The Center for Immigration Studies (CIS) estimate of the number of births to unauthorized
         mothers in 2014;
    •    The Pew Research Center, Department of Homeland Security (DHS), and Center for
         Migration Studies (CMS) estimates of the total unauthorized population; and,
    •    Migration Policy Institute (MPI) estimates of the marital status of unauthorized immigrants.

Our best estimate from these data is that in 2022 there were approximately 255,000 babies born to
unauthorized mothers in the United States, of whom at least 153,000 also have an unauthorized
father.

Individual States
We used the same methodology to provide information for individual states. Rather than repeating
the discussion of methodology for each one, we simply include the corresponding tables and
conclusion for each state in an attached appendix. Appendix C provides tables for California;
Appendix D provides tables for Massachusetts; and Appendix E provides tables for New Jersey.




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Appendix A: Alternative Calculations of the Legal Status of Fathers
Some of the children born to unauthorized mothers have authorized fathers (either citizen or
otherwise authorized). To our knowledge, no one has surveyed or estimated the number or percent
of births to unauthorized mothers that also have an unauthorized father. In the report above, we
estimate this figure at 60 percent from a survey of married couples.

An alternative approach described here is to consider the composition of households with at least
one unauthorized member. The percentage of unauthorized adults in such households is used to
estimate the probability that an unauthorized mother would have an unauthorized partner. For
example, if all households were 100 percent filled with unauthorized members, an unauthorized
mother would have a 100 percent probability of being in partnership with an unauthorized man. If
roughly half the members of the household were unauthorized, she would have a roughly 50 percent
probability of being in partnership with an unauthorized man.

Data estimates are available on the number of authorized and unauthorized people in households
that contain at least one unauthorized person. However, these data include children. In our
calculations below, we subtract children from both the authorized and unauthorized populations to
obtain a count of adults living in households with at least one unauthorized person. As Table A-1
shows, 67 percent of adults in households that contain at least one unauthorized member are
unauthorized.

     Table A-1. Composition of Households with at Least One Unauthorized Member
                   Unauthorized      Authorized           Total          Percent
      Source
                    Population       Population         Population     Unauthorized
       Total
                    10,990,000       10,160,000         21,150,000         52%
    Population
     Children              1,454,051              5,470,000              6,924,051                21%

      Adults               9,535,949              4,690,000             14,225,949               67.0%
  Sources: Household member counts from fwd.us (Connor, 2024); Share of citizen children in household from MPI
       (Capp, Fix, and Zong, 2016); Unauthorized Population estimates from DHS (Baker and Warren, 2024)

We need to make one small mathematical adjustment to the 67 percent figure in Table A-1 to obtain
the probability that an unauthorized mother would have an unauthorized partner. The 67 percent
figure includes the mothers themselves who are, by definition, unauthorized. We need to subtract
these women from both the numerator and denominator, so they are not in the probability
calculation. Table A-2 shows these calculations assuming there are 255,000 unauthorized mothers –
our estimate for 2022. This changes the percent unauthorized from 67.0 percent to 66.4 percent.




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                                Table A-2. Probability Calculation
                        Unauthorized       Authorized            Total                    Percent
       Source
                         Population        Population         Population                Unauthorized
     Adults               9,535,949         4,690,000         14,225,949                   67.0%
   Unauthorized
                            255,000                  0                 255,000               100%
     Mothers
     Adults
    Excluding              9,280,949            4,690,000            13,970,949              66.4%
     Mothers

Table A-3 shows the estimated number of births in which both parents are unauthorized. With
255,000 mothers and 66.4 percent probability of being in partnership with an unauthorized man, we
calculate 169,397 births in which both parents are unauthorized.


             Table A-3. Alternative Estimate of Both Parents being Unauthorized
                                                               Unauthorized
                                                                Population
                 2022 Births to Unauthorized Mothers              255,000
                 Probability of the Father Being
                                                                   66.4%
                 Unauthorized
                 2022 Births with Both Parents
                                                                  169,397
                 Unauthorized


Conclusion
Just as our original estimate methodology looked only at married couples, for this methodology we
make the assumption that the mother and father live together, as we have no data to adjust the
numbers to account for situations where the mother and father do not live together.

We conclude that approximately 170,000 is an alternative estimate for the number of births where
neither the mother nor the father is authorized.

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Appendix B: Sources of Data on Immigrants
For this report, NDC collected data from academic studies, government agencies, and independent
organizations. Each source is described in detail below.

Government Agencies
Data from official government sources is regarded as authoritative and reliable.
   •     National Center for Health Statistics (NCHS)
         NCHS serves as the principal health statistics agency in the United States and operates under
         the umbrella of the Centers for Disease Control and Prevention (CDC). NCHS collects birth
         data from all 50 states and the District of Columbia through the Vital Statistics System,
         which includes birth certificates filed with state health departments. The NCHS uses
         standardized forms and methods for collecting birth data, ensuring consistency and
         comparability across States and over time.

   •     American Community Survey (ACS)
         The American Community Survey (ACS) is an ongoing survey conducted by the U.S. Census
         Bureau that collects detailed demographic, social, economic, and housing information about
         the U.S. population. The ACS employs a scientifically designed sampling method that
         ensures the data collected is representative of the entire U.S. population. Each year, about
         3.5 million households participate in the survey, providing a broad and diverse data set. By
         collecting data annually, the ACS is particularly useful for tracking changes in demographic
         trends over time.

   •     Office of Immigration Statistics (OIS)
         The Office of Immigration Statistics is housed within the Department of Homeland Security
         (DHS), the federal agency responsible for immigration enforcement. The OIS often
         collaborates with academic institutions to enhance the quality and utility of its data. This
         collaboration can involve peer review processes that further validate findings.

Independent Organizations
These organizations are widely regarded as authorities on immigration and their research is cited
frequently in legal proceedings and policy debates.
    •    Center for Immigration Studies (CIS)
         Founded in 1985, CIS is a nonprofit research organization that focuses on immigration
         policy issues, often advocating for reduced immigration levels in the United States. Critics of
         CIS often argue that it has a political agenda that promotes anti-immigration views.

         Dr. Steven Camarota, Director of Research, Center for Immigration Studies
         Dr. Camarota holds a Ph.D. in American Government from the University of Virginia. He
         is currently the Director of Research at the Center for Immigration Studies, where he has
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          authored numerous reports analyzing U.S. Census Bureau data as it relates to issues of
          immigration and citizenship.
          Dr. Camarota’s research has been cited in high profile cases, including Arizona v. United
          States (2012). He has experience testifying before congressional committees 3 and providing
          expert testimony in legal proceedings. 4

    •    Pew Research Center
         Founded in 2004, the Pew Research Center is a nonpartisan, nonprofit research organization
         based in Washington, D.C., known for its data-driven studies on a broad range of topics,
         including demographics and immigration. The Center does not take policy positions or
         advocate for specific policies.

         Dr. Jeffrey S. Passel, Senior Demographer, Pew Research Center
         Dr. Passel is widely recognized for his demographic expertise and as one of the nation’s
         premier experts on immigration. He developed demographic methods for estimating the
         unauthorized immigrant population that are widely used by scholars in many fields. As a
         senior demographer at the Pew Research Center, he authored and contributed to significant
         reports on the size and characteristics of the undocumented immigrant population, which
         are frequently cited in legal and academic discussions. Dr. Passel previously held positions at
         the Urban Institute and the U.S. Census Bureau. He holds a Ph.D. from Johns Hopkins
         University.

         Dr. Passel has testified before congressional committees and federal agencies. 5 His research
         has been cited in high profile cases including Arizona v. United States (2012). Dr. Passel has
         also provided expert testimony in court cases over the past four decades. 6

    •    Migration Policy Institute (MPI)
         Founded in 2001, MPI is a nonpartisan research organization based in Washington, D.C., on
         the study of migration and immigration policy in the United States and globally. The institute
         conducts in-depth research, produces reports, and provides analysis on a wide range of
         immigration-related topics, including legal and illegal immigration. The institute employs a
         team of experienced researchers, demographers, and policy analysts who produce high-
         quality, rigorous studies.

          Dr. Randy Capps, Director of Research for U.S. Programs, Migration Policy
          Institute



3 The Fiscal Costs of the President's Executive Actions on Immigration, Hearing Before the H. Comm. on Oversight & Gov't

Reform, 113th Cong. (Mar. 17, 2015).
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            Dr. Capps is a prominent researcher and demographer known for his work on immigration
            and migration policy for the Migration Policy Institute. He has provided research cited in
            legal proceedings. 7 Dr. Capps holds a Ph.D. from the University of California, Berkeley.

       •    Center for Migration Studies (CMS)
            Founded in 1964 and affiliated with the Catholic Church, CMS is a nonprofit research
            organization based in New York City that focuses on issues related to immigration. The
            Center collaborates with academic institutions and researchers, which adds to its credibility.
            Many of its staff and affiliated researchers are respected scholars in the field of migration
            studies.

            Dr. Robert Warren, Senior Visiting Fellow, Center for Migration Studies
            Dr. Warren served as a demographer for 34 years with the United States Census Bureau and
            the former Immigration and Naturalization Service (INS). He is now a Senior Visiting
            Fellow at the Center for Migration Studies of New York.

            Dr. Warren has authored and coauthored numerous reports focusing on the size and
            characteristics of the undocumented immigrant population in the U.S. His work is often
            referenced in policy debates and legal proceedings. Dr. Warren’s contributions to
            immigration research have made him a respected authority in the field. He holds a Ph.D.
            from Columbia University.

       •    FWD.us
            FWD.us is a nonprofit organization founded in 2013 by a group of technology leaders,
            including Mark Zuckerberg (Meta Platforms and Facebook), Reid Hoffman (LinkedIn), and
            others, with the aim of advocating policies that benefit the tech industry, including
            immigration reform that makes it easier for skilled workers to enter and remain in the U.S.

            Dr. Phillip Connor, Senior Demographer, FWD.us
            Formerly a researcher at the Pew Research Center, Dr. Connor now serves as Senior
            Demographer for FWD.us. He holds a Ph.D. from Princeton University and has published
            peer-reviewed studies on immigration.




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    Rodriguez v. Finan, Civil Action No.: 2:15-CV-2317-BHH (2016).
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Appendix C: Massachusetts
We estimate in 2022 in Massachusetts 7,800 births to unauthorized mothers, of which we estimate
4,200 also had unauthorized fathers. 8 Our calculations are shown in the following tables:


 Table 1. Estimated 2014 Massachusetts Births, by Mother’s Nativity
               Mother’s Nativity                  Births     Percent
           Unauthorized Foreign-born               5,349       7.1%
            Authorized Foreign-born               15,344      20.3%
                  Native Born                     55,024      72.7%
                           Total                                 75,717           100%
 Source: Camarota, Ziegler, and Richwine, Center for Immigration Studies (2018)


 Table 2. Births to Foreign-Born Mothers in Massachusetts
           Year              NCHS Births to Foreign-Born
            2014                        20,739
           2022                         23,628
           Difference                                 2,889
       Percent Change                                 13.9%



 Table 3. Estimate of Massachusetts’s Foreign-Born Total Population
                         2012-2016 ACS          2022 ACS            Change
 Foreign-Born Total
                                     1,061,461                  1,259,871                18.7%
     Population
 Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset




8 Our estimates are rounded to the nearest hundred.

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 Table 4. Estimates of Massachusetts’s Unauthorized Foreign-Born Total Population
                              2014                2022            Change
 DHS                           NA                  NA               NA
 Pew                         210,000             325,000           54.8%
 CMS                         146,700             216,635           47.7%
 Average of Change Estimates for 2014-
                                                                   51.2%
 2022
 Sources: DHS estimates from Baker (2017) and Baker and Warren (2024).
 Pew estimates from Passel and Krogstad (2024).
 CMS estimates from CMS (2022) and Warren (2024).


 Table 5. Estimates of Massachusetts’s Unauthorized Population Compared to Foreign-Born
 Population
                                                                     (C)             (D)           (E)
                     (A)                      (B)
                                                                 Change in         Percent     Adjustment
               Unauthorized             Unauthorized
 Source                                                          Share, 2014      Change in         for
              Share of Foreign-        Share of Foreign-
                                                                   to 2022          Share      Calculations
                 Born, 2014               Born, 2022
                                                                    (B-A)           (C/A)         (1-D)
 DHS                  NA                       NA                     NA            NA             NA
 Pew                 19.8%                    25.8%                  6.0%          30.4%         130.4%
 CMS                 13.8%                    17.2%                  3.4%          24.4%         124.4%
 Average             16.8%                    21.5%                  4.7%          27.4%         127.4%


 Table 6. Calculating Massachusetts Births to Unauthorized Mothers in 2022
                                                   Adjustment for
                                  Change in          Change in
 Statistic     2014 Births      Foreign-Born       Unauthorized 2022 Births
                               Births, 2014-2022    Share, 2014-
                                                        2022
 Estimate          5,349             13.9%             127.4%          7,764


 Table 7. Calculating Massachusetts Births to Unauthorized Parents in 2022
                                                                      Estimated births with
 NDC estimate of births              Estimated share with
                                                                     unauthorized mother and
 to unauthorized mothers             unauthorized father
                                                                              father
             7,764                             53.7%                           4,166

Note: data are not available for the alternative calculations of births when both parents are
unauthorized. (Tables A-1, A-2, and A-3)
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Appendix D: New Jersey
We estimate in 2022 in New Jersey 10,700 births to unauthorized mothers, of which we estimate
6,200 also had unauthorized fathers. 9 Our calculations are shown in the following tables:

 Table 1. Estimated 2014 New Jersey Births, by Mother’s Nativity
             Mother’s Nativity               Births     Percent
       Unauthorized Foreign-born             11,372      11.0%
         Authorized Foreign-born             24,000      23.1%
               Native Born                   68,476      65.9%
                        Total                            103,848          100%
 Source: Camarota, Ziegler, and Richwine, Center for Immigration Studies (2018)



 Table 2. Births to Foreign-Born Mothers in New Jersey

                                 NCHS Births to
           Year
                                  Foreign-Born

           2014                        37,609
           2022                        37,949
       Difference                        340
    Percent Change                      0.9%



 Table 3. Estimate of New Jersey’s Foreign-Born Total Population
                         2012-2016 ACS         2022 ACS          Change
 Foreign-Born Total
                                     1,943,338               2,181,082            12.2%
     Population
 Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset




9 Our estimates are rounded to the nearest hundred.

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Table 4. Estimates of New Jersey’s Unauthorized Foreign-Born Total Population
                             2014               2022          Change
DHS                         450,000            490,000          8.9%
Pew                         500,000            475,000         -5.0%
CMS                         452,100            494,824          9.5%
Average of Change Estimates for 2014-2022                                       4.4%
Sources: DHS estimates from Baker (2017) and Baker and Warren (2024).




Table 5. Estimates of New Jersey’s Unauthorized Population Compared to Foreign-Born
Population
                                                                  (C)               (D)           (E)
                    (A)                      (B)
                                                               Change in          Percent     Adjustment
              Unauthorized             Unauthorized
Source                                                        Share, 2014 to     Change in         for
             Share of Foreign-        Share of Foreign-
                                                                  2022             Share      Calculations
                Born, 2014               Born, 2022
                                                                 (B-A)             (C/A)         (1-D)
DHS                  23.2%                   22.5%                 -0.7%            -3.0%          97.0%
Pew                  25.7%                   21.8%                 -4.0%           -15.4%          84.6%
CMS                  23.3%                   22.7%                 -0.6%            -2.5%          97.5%
Average              24.0%                   22.3%                 -1.7%            -6.9%          93.1%



Table 6. Calculating New Jersey Births to Unauthorized Mothers in 2022
                                            Adjustment for
                             Change in
                                               Change in
                            Foreign-Born                        2022
Statistic    2014 Births                     Unauthorized
                            Births, 2014-                      Births
                                              Share, 2014-
                                2022
                                                 2022
Estimate       11,372           0.9%            93.1%          10,679



Table 7. Calculating New Jersey Births to Unauthorized Parents in 2022
                                                                     Estimated births with
NDC estimate of births              Estimated share with
                                                                    unauthorized mother and
to unauthorized mothers             unauthorized father
                                                                             father
            10,679                            58.1%                            6,208


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Table A-1: Composition of New Jersey Households with at Least One
Unauthorized Member
               Unauthorized Authorized           Total         Percent
Source
                Population      Population    Population Unauthorized
Total
                   490,000        430,000       920,000          53%
Population
Children            63,797        240,000       303,797          21%
Adults             426,203        190,000       616,203         69.2%



Table A-2: Probability Calculation
                           Unauthorized      Authorized         Total          Percent
Source
                            Population       Population       Population     Unauthorized
Adults                         426,203           190,000       616,203           69.2%
Unauthorized Mothers           10,700               0          10,700            100%
Adults Excluding
                               415,503           190,000       605,503           68.6%
Mothers



Table A-3: Alternative Estimate of Both Parents being Unauthorized
                                                             Unauthorized
                                                              Population
2022 Births to Unauthorized Mothers                             10,700
Probability of the Father Being Unauthorized                    68.6%
2022 Births with Both Parents Unauthorized                       7,342




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Appendix E: California
We estimate in 2022 in California 40,200 births to unauthorized mothers, of which we estimate
24,500 also had unauthorized fathers. 10 Our calculations are shown in the following tables:


 Table 1. Estimated 2014 California Births, by Mother’s Nativity
             Mother’s Nativity                 Births    Percent
       Unauthorized Foreign-born               65,391     13.5%
         Authorized Foreign-born              107,685     22.2%
               Native Born                    311,681     64.3%
                        Total                            484,757          100%
 Source: Camarota, Ziegler, and Richwine, Center for Immigration Studies (2018)


 Table 2. Births to Foreign-Born Mothers in California

                                       NCHS Births to
               Year
                                        Foreign-Born

               2014                          190,174
               2022                          136,635
           Difference                        -53,539
        Percent Change                       -28.2%


 Table 3. Estimate of California’s Foreign-Born Total Population
                                2012-2016 ACS       2022 ACS                        Change
      Foreign-Born Total
                                           10,437,630             10,428,025         -0.1%
          Population
 Source: Census Bureau 2012-2016 5-Year ACS dataset and 2022 1-Year ACS dataset




10 Our estimates are rounded to the nearest hundred.

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Table 4. Estimates of California’s Unauthorized Foreign-Born Total Population
                                     2014             2022           Change
DHS                               2,730,000        2,600,000          -4.8%
Pew                               2,350,000        1,800,000         -23.4%
CMS                               2,597,600        2,197,797         -15.4%
Average of Change Estimates for 2014-2022                                            -14.5%
Sources: DHS estimates from Baker (2017) and Baker and Warren (2024).
Pew estimates from Passel and Krogstad (2024).
CMS estimates from CMS (2022) and Warren (2024).


Table 5. Estimates of California’s Unauthorized Immigrant Population Compared to
Foreign-Born Population
                  (A)                   (B)                    (C)          (D)            (E)
             Unauthorized          Unauthorized            Change in      Percent      Adjustment
Source         Share of              Share of              Share, 2014   Change in          for
             Foreign-Born,         Foreign-Born,             to 2022       Share       Calculations
                  2014                 2022                   (B-A)        (C/A)          (1-D)
DHS               26.2%                  24.9%               -1.2%          -4.7%         95.3%
Pew               22.5%                  17.3%               -5.3%         -23.3%         76.7%
CMS               24.9%                  21.1%               -3.8%         -15.3%         84.7%
Average           24.5%                  21.1%               -3.4%         -14.4%         85.6%


Table 6. Calculating California Births to Unauthorized Mothers in 2022
                                             Adjustment for
                               Change in
                                                Change in
                             Foreign-Born                         2022
Statistic    2014 Births                      Unauthorized
                              Births, 2014-                      Births
                                               Share, 2014-
                                  2022
                                                   2022
Estimate       65,391            -28.2%           85.6%          40,197


Table 7. Calculating California Births to Unauthorized Parents in 2022
                                                                     Estimated births with
NDC estimate of births              Estimated share with
                                                                    unauthorized mother and
to unauthorized mothers             unauthorized father
                                                                             father
            40,197                            60.9%                         24,468




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Table A-1: Composition of California Households with at Least One Unauthorized Member
                        Unauthorized         Authorized          Total          Percent
Source
                         Population          Population        Population     Unauthorized
Total Population          2,600,000            1,680,000        4,280,000          61%
Children                   271,139             1,020,000        1,291,139          21%
Adults                    2,328,861             660,000         2,988,861         77.9%



Table A-2: Probability Calculation
                            Unauthorized         Authorized       Total         Percent
Source
                             Population          Population     Population    Unauthorized
Adults                        2,328,861           660,000        2,988,861       77.9%
Unauthorized Mothers            40,200               0             40,200        100%
Adults Excluding
                              2,288,661           660,000        2,948,661       77.6%
Mothers



Table A-3: Alternative Estimate of Both Parents being Unauthorized in
California
                                                           Unauthorized
                                                            Population
2022 Births to Unauthorized Mothers                               40,200
Probability of the Father Being Unauthorized                      77.6%
2022 Births with Both Parents Unauthorized                        31,202




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